                           Case 1:19-cr-00320-PGG Document 58 Filed 11/01/20 Page 1 of 7
AO 2458 (Rev. 09/19) Judgment in a Criminal Case     (form modified within District on Sept. 30, 2019)
                      Sheet I




                                             U     TED STaTES DISTRICT CoT]RT
                                                         Southern District of New York
                                                                              )
               LINITED STATES OF AMERICA
                                                                              )
                                                                                        JUDGMENT IN A CRIMINAL CASE
                                    v.                                        )
                       George Luis Pagan                                      )
                                                                                        Case   Number: 19 CR 320-001 (PGG)
                                                                              )
                                                                              )         USM Number: 86774-054
                                                                              )
                                                                              )          lan Howard Marcus Amelkin
                                                                                        Defendant's Attorney
                                                                              )
THE DEFENDANT:
Mpleaded guilty to count(s)              Z

I    pleaded nolo contendere to count(s)
     which was accepted by the court.

fI   was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title &   Section                Nature of Offense                                                               Offense Ended             Count
18 U.S.C. S 2252A(aX5) Possession of Child Pornography                                                            3128t2019            2

(B), (bX2) and 2



       The defendant is sentenced as provided in pages 2 through                    7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

n    The defendant has been found not guilty on count(s)

M    Count(s)     1                                      M ir        I   are dismissed on the motion of the United States.

          ll is ordered thal the defeDdant must nolifo the United States attomev for th is district within 30 davs ofanv chanee ofname- residence-
or mailinq address until all fmes. restitution, costs, Zrnd special assessments irdposed by th is iudgment are fully paidl I fordered ro pay restitution,
the defentant must notiry the court and Uoited States attomey of material ch'anges ii ecoiomic circumstaricis.

                                                                                                                10t30t2020



                                                                                                                       M
                                                                             Date of Imposition of Judgrnent




                                                                             Signature ofJudge
                                                                                                               frao
                                                                                                   Hon. Paul G. Gardephe, U.S.D.J.
                                                                             Name and Title of Judge



                                                                                                                11t1t2020
                                                                             Date
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AO 2458 (Rev. 09/19) Judgment in Criminal Case
                         Sheet 2       Imprisonrnent
                                   -
                                                                                                                 Judgment-Page 2       of   7
 DEFENDANT: George Luis Pagan
 CASE NUMBER: 19 CR 320-001 (PGG)

                                                                    IMPRISONMEI{T
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
                  2 years.




      d    Th. .orn .uk.s the following recommendations to the Bureau of Prisons:
           The Court recommends to the Bureau of Prisons that the Defendant b€ incar@rated at the federal prison camp located
           at FMC D6vens. Altematively, the Court recommends that the Dofendant be incarceEted at the federal priBon cemp
           located in Otisville, NY.



      tl   The defendant is remanded to the custody of the United States Marshal.


      il   The defendant shall surrender to the United States Marshal for this district:

           tr at 02:00                                    n a.m. il p.m. on                     lllZlZOZO
           f,    as   notified by the United States Marshal.

      n    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons

           tl    before 2 p.m. on

           f,    as   notified by the United States Marshal.

           n     as   notified by the Probation or Pretrial Services Office



                                                                             RETURN
 I have executed this judgment            as   follows:




           Defendant delivered on                                                                   to

 at                                                        , with   a   certified copy of this judgment.



                                                                                                              UNITED STATES MARSHAL


                                                                                     By
                                                                                                           DEPUTY LINITED STATES MARSHAL
                             Case 1:19-cr-00320-PGG Document 58 Filed 11/01/20 Page 3 of 7
AO 2458 (Rev.   09/19)   Judgment in a CriminalCase
                         Sheet 3   Supervised Release
                                -
                                                                                                           Judgment-Page   3    of        7
DEFENDANT: George Luis pagan
CASE NUMBER: 19 CR 320-001 (pcG)
                                                           SUPERVISED RELEASE
Upon release from imprisonment, you           will be on supervised   release for a term of':

                                                                                                5 years.




                                                        MANDATORY CONDITIONS
1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refi:ain from any unlawful use of a controlled substance. You must submit to one drug test within l5 days ofrelease from
        imprisoment and at least two periodic drug tests thereafter, as determined by the court.
                !   The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse . kheck iJapplicabb)
4.       El You must make restitution in accordance with 18 U.S.c. $$ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (chec* i[ awlicable)
5.       M You must cooperate in the collection ofDNA as directed by the probation ofiicer. (check ifappticable)
6.       dYoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(34U.S.C.920901,etseq.)as
            directed by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in the location wh€re you
            reside, work, are a student, or were convicted ofa qualifying offetse. (check il appticobA
7. E        You must participate in an approved program for domestic violence. fcl,€ck ifappticable)

You must comply with the standard conditions that have been adopted by this court as well as with any ottrer conditions on the attached
page.
                          Case 1:19-cr-00320-PGG Document 58 Filed 11/01/20 Page 4 of 7
AO 2458 (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 3A       Supervised Release
                                 -
                                                                                            Judgment-Page         4       of         7
DEFENDANT: George Luis Pagan
CASE NUMBER: 19 CR 320-001 (PGG)

                                          STANDARD CONDITIONS OF SUPERVISION
As part ofyour supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identi! the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

     You must report to the probation office in the federaljudicial district where you are authorized to reside within 72 hours ofyour
     release from imprisonment, unless the probation omcer instnrcts you to report to a different probation office or witbin a different time
     frame.
2    After initially reporting to the probation office, you will receive instructions ftom the court or the probation ofFrcer about how and
     when you must report to the probation offrcer, and you must report to the probation ofncer as instructed.
^J   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission fiom the
    court or the probation officer.
4   You must answer truthfully the questions asked by your probation ofiicer.
5   You must live at a place approved by the probation officer. lfyou plan to change where you live or anything about your living
    arrdngements (such as the people you live with), you must notifr the probation officer at least l0 days before the change. tfnotiling
    the probation officer in advance is not possible due to unanticipated circumstances, you must notiry the probation olficer within 72
    houn of becoming aware of a change or expected change.
6.  You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation omcer to
    take any items prohibited by the conditions ofyour supervision that he or she observes in plain view.
7.  You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation oflicer excuses you from
    doing so. Ifyou do not have full-time employment you must try to find full-time employme[t, unless the probation officer excuses
    you from doing so. Ifyou plan to change where you work or anything about your work (such as your position or yourjob
    responsibilities), you must notiry the probation officer at least 10 days before the change. lfnotifing the probation officer at least l0
    days in advance is not possible due to unanticipated ckcumstances, you musl notiry the probation oflicer within 72 hours of becoming
    aware ofa change or expected change.
I You must not communicate or interact with someone you know is engaged in criminal activity. Ifyou know someone has been
    convisted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
    probation officer.
9.  Ifyou are arested or questioned by a law enforcement officer, you must notiry the probation officer witlfn 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anlthing that was
    designed, or was modified foq the specific purpose ofcausing bodily injury or death to another person such as nunchakus or tasers).
1t. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    fint getting the permission ofthe court.
12. You must follow the instructions ofthe probation offrcer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Ovelviete of Probqtion dnd Supervised
Release Conditions, available at: ylyg4gggg4[949y.


Defendant's Signature                                                                                  Date
                            Case 1:19-cr-00320-PGG Document 58 Filed 11/01/20 Page 5 of 7
AO 2458 (Rev.   09/19)   Judgment in a Criminal Case
                         Sheet 3D    Supervised Release
                                  -
                                                                                             Judgnrent*Page __   5   of     7
DEFENDANT: George Luis Pagan
CASE NUMBER: 19 CR 320-001 (PGG)

                                            SPECIAL CONDITTONS OF SI'PERVISION
 Mr. Pagan will submit his peFon, and any property, residence, vehicle, papers, computer, other electronic cornmunication
 or data storage device, cloud storage or media, and effec'ts to a search by any United States Prcbation Officer where there
 is reasonable suspiclon that a violation of the conditions of supeNised release has taken place. Failure to submit to a
 search may be grounds icr revocation. The Defendant will wam any other occupants that the premises may be subject to
 search pursuant to this condition. Any search shall be conduct€d at a reagonable lime and in a reasonable manner,

 Mr. Pagan shall undergo a sex-ofiense-specific evaluation and participate in an outpatient s6x offender treatrnent and/or
 outpatient mental health treatnent program approved by the U.S. Probation Office. He shall abide by all rules,
 requirements, and conditions of the sex offonder tr6atn6nt program(s), including submission to polygraph tBsting and
 refraining from accessing websites, chatrooms, instant messaging, or social networking sites to the extent that the sex
 offender treatment and/or mental health treatrnent program detemines that such access would be detrimental to his
 ongoing treatment. He will not view, access, possess, and/or dou,nload any pomography invoMng adults unless approved
 by lhe sex-offender spscific lreatment providor. He must waive his ght of confidentiality in any records for mental health
 assessment and treatment imposed as a consequen@ of this judgment to allow the U.S. Probation Office to review the
 course of treatment and progress with the treatment providor. He must contribute to the cost of services rendered based
 on his ability to pay and the availability of a third-party payor. The Court authorizes the release of available psychological
 and psychiatdc evaluations and reports, including the prgsentenG investigation report, to the sex offender treatment
 provider and/or mental health treatment provider.

 Mr. Pagan shall permit the U.S. Probation Office to install any apdication or softrvare that allow8 it to survey and/or monitor
 all activity on any computer(s), automat€d seMce(s), or connected devices that he will use during the term of supervision
 and that can access th6 intemet (collectively, the "Devices'), and the U.S. Probation Office is authorized to install such
 applications or sofilvare. Tampering with or circumventing the U.S. Pobation Office's monitoring capabilities is prohibited.
 To ensure complhnce with the computer monitoring conditon, the D6fendant must allow the probauon officor to conduct
 initial and periodic unannoun@d examinations of any Device that is Eubject to monitodng. H6 must notify any other people
 who use the Devices that they ar6 subjec't to examination pursuant to this condition. He must provide the U.S. Probation
 Office advance notification of plann€d use of any D6vic6s, and will not use any Oevices without apFo\ral until compatibility
 (i.e., softvvare, operating system, email, web-browser) is determined and installation ls completed. Applications for Devico
 use shall be approved by the U.S. Prcbation Office once the Probation Omce €nsures compatibility with the
 surveillanco/monitoring application or software. Websites, chatrooms, messaging, end social networking sites shall be
 accessed via the Devices' w6b browser unless otherwls€ Euthorized. The D€fendant will not qeate or access any int€met
 service provider account or other online service using someone else's ac@unt, name, designation or alias, He wil{ not
 utilize any peer-to.poer and/or file sharing applications without the prior approval of his probation ofiicer. The use of any
 Devices in the cou6e of employment will be subject to monltoring or restric-tion as permitted by the employer.

 Mr. Pagan B restricted from viewing, accessing, possessing, and/or downloading any sexually explicit matedal invoMng
 minors, including those created via the method of morphing or other image creation fomat. He will not view or possess
 any "visual depk*ion' (as defined in 18 USC $ 2256), induding any photograph, film, video, picture, or computer-geneEted
 imago or pictur€, whether made or Foducod by electronic, mecfianical, or other means, of'sexually explicit conduct" by a
 minor under th6 age of 18.

 Mr. Pagan will not access any websites, chatrooms, instant messaging, or social networking sites yvtrere his criminal
 history-including this convic'tion-would render such aocess in violation of the terms of service of that website, chatroom,
 instant messaging, or social networking site. He must not have deliberate contact with any child under 18 years of age,
 unless approved by the U.S. Prcbation Office. He must not loiter within 100 fe6t of places regularly frequented by cfiildren
 under the age of 18, such as schoolyards, playgrounds, and arcades. He must not vi€w and/or access any web profile of
 users under the age of 18. This includes, but is not limlted to, social networking websites, community portals, chat rooms
 or other online environment (audio/visual/messaging), etc. which albws for real time interaction with other use6, without
 prior approval ftom his probation officer.

 Mr. Pagan must participate in an ouhatient mental heahh treatment program approved by the United States Probation
 Office. Ho must continue lo tak€ any prescribed medications unless othenivise instruc'ted by the health care provider. He
 must contribute to the cost of seryices rendered based on his ability to pey and the availability of a third-party payor. The
 Court authorizes the release of available psychological and psyciiatric evaluations and reports, induding the presentence
 investigation report, to the health care provider.
                             Case 1:19-cr-00320-PGG Document 58 Filed 11/01/20 Page 6 of 7
AO 2458 (Rev.   09/19)   Judgment in a Criminal Case
                         Sheet 5       Criminal Monetary Penalties
                                   -
                                                                                                                     Judgment-   Page 6        of       -T--
DEFENDANT: George Luis Pagan
CASE NUMBER: 19 CR 320-001 (PGG)
                                                      CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6


                     Assessment                       Restitution                Fine                   AVAA               ent*           JVTA Assessment**
TOTALS $ 100.00                                   $                          $                     $                                  $



il    The determination of restitution is deferred until             1113D120fi    . An     Amended Judgment     in a Criminal       Case (AO 245C)   will   be
      entered after such determination.

 E    The defendant must make restitution (including community restitution) to the following payees in the amorurt listed below.

      If the defendant makes a partial payment,                                                                                      unless           otherwise in
      the orioritv order o^r percentage payment                                                   to   18   S    $          ), all            victims must be paid
      befdre the'United States rs pard.

Name of Payee                                                        Total Loss***                     Restitution    Ordered        Priority or Percentage




TOTALS                                     s                          0.00              $                        0.00


 D     Restitution amount ordered pursuant to plea agreement $

 tr    The defendant must pay interest on restitution and a fme ofmore than $2,500, unless the restitution or frne is paid in full before the
       fifteenth day after the date oft}e judgment, pursuant to 18 U.S.C. $ 3612(0. All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to l8 U.S.C. S 3612G).

 tr    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       E    the interest requirement is waived for       the E fine E restitution.
       fl   the interest requirement           for the !   fine E restitution is modified              as follows:


 * Amy, Vicky, and Andy Child Pomography victim Assistance Act of20l8, Pub. L. No. I l5-299.
 **.tu(tice fof Victims of Traffickins Acrbf20l5. Pub. L. No. I l4-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, ll0, I l0A, and ll3A of Title l8 for offenses commifted                         on
 or after Sep-tember 13. 1994. but before April 23. 1996.
AO 245B   (Rev.09/19)
                                    Case 1:19-cr-00320-PGG Document 58 Filed 11/01/20 Page 7 of 7
                               Judgment in a Criminal Cas6
                               Sheet 6   Schedule of Payrnents
                                      -
                                                                                                                                   Judgme0t-Page      7     of          7
DEFENDANT: George Luis Pagan
CASENUMBER: 19 CR 320{01 (PGG)

                                                                   SCHEI}ULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A fr                Lump sum payment of                $ 100.00              due immediately, balance due


                    tr    not later than                                          ,of
                    n     in accordance       with      n C, tr D, n                or tr F below; or
                                                                                   E,

B      tr           Payment to begin immediately (may be combined                with n C, fl D, or                        [J   F below); or

C n                 Payment in equal                             (e.g., weekly, monthly, quarterly) installments      of
                                                                                                                       $               over a period of
                                    (e.g., months or years),   to commence                         (e.g., 30 or 60 days) after the date of this judgment;    or

D tr                Payment in equal                             (e.g., weekly, monthly, qwarterly)    installments   of   $                over a period of
                                    (e.g., months or years),   to commence                            (e.g., 30 or 60 days) after release   from imprisonment to a
                term of supervision; or

 E     E            Payment during the term of supervised release will commence within                      _(".g.,
                                                                                                            i0 or 60 days) after release from
                    imprisonment. The court will set the pa,,ment plar based on ar assessment ofthe defendant's ability to pay at that tims; or

F n                 Special instructions regarding the payment of criminal monetary penalties:




 Unless the courthas exoresslv ordered otherwise.                  ifthis iudsnent      imDoses imDrisonment. Dayment ofcriminal monetaxy penalties is due durins
the period of imprisoffnent.- All criminal mondtary p6naFties, excdpt those payments niade tluough the Federal Buiehu of Prisons' InmatE
Findncial Respoirsibility Progam, are made to thetlbrk olthe court.

 The defendant shall receive credit for all pa).ments previously made toward any criminal monetary penalties imposed.




 n     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                                      Joint and Several                  Corresponding. Payee,
       (i nc   Iu   di ng defe nd ant num   b e   r)                    Total Amount                              Amount                             rt approprrate




 tr    The defendant shall pay the cost of prosecution.

 n     The defendant shall pay the following court cost(s):

 n     The defendant shall forfeit the defendant's interest in the following properfy to the United States:




                                                      l) assessment (2) restitution principal. (3) restihrtion ioterest, (4) AVAA assessment,
 Pavments shall be aoolied in the followine order: ('restitution.
 15Jfine principal. (6)'fine interesr, (7) corimunity             (8) JVTA assessmbnt. (91 pendlties, and (10) costs, including cost of
 prosecution and court costs.
